Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 1 of 7

IN THE UNlTED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF NEW MEXlCO

GREAT MlDWEST INSURANCE COMPANY,

Plaintiff,
Case No.

 

V.

PROFESSIONAL HOME HEALTHCARE, lNC.

Defendants.

COMPLAINT BY INSURER FOR DECLARATION OF
RIGHTS UNDER INSURANCE POLICY

 

 

COl\/IES NOW Plaintiff Great Midwest lnsurance Company, by and through the
undersigned attorneys, Civerolo, GraloW, Hill & Curtis, a Professional Association, by l\/l. Clea
Gutterson, Esq., for its Complaint by insurer for declaration of rights under insurance policy

states as follows:
I. JURISDICTIONAL ALLEGATIONS

l. Great l\/lidwest lnsurance Company (Great l\/Iidwest) is, and at all material times
has been, an insurance company incorporated in the State of Texas With its principal place of
business in Houston, TeXas. Great Midwest is authorized to Write and sell insurance in the State

of New l\/leXico.

2. Defendant Professional Horne Healthcare is a NeW l\/leXico Company Which
provides iii-home health services Upon information and belief, Professional Home Healthcare is

a NeW Mexico corporation With its principal place of business in Santa Fe, NeW MeXico.

3. This Court has personal jurisdiction over the parties to this action as the insurance

policy which is subject of the complaint Was executed in the State of New MeXico and, further,

Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 2 of 7

because the events and occurrences giving rise to the underlying suit, described below, occurred

in Albuquerque, County of Bernalillo, State of New l\/Iexico.

4. This Court has subject matter jurisdiction on the basis of diversity jurisdiction, 28
U.S.C. § 1332. This matter is a dispute between citizens of different states and involves a

controversy exceeding the sum of $75,000.00, exclusive of interest and costs.
5. This case is brought pursuant to the Declaratory Judgrnent Act, 28 U.S.C. § 2201.

6. This Court has the authority to enter a Declaratory Judgrnent regarding the rights
and liabilities of the parties pursuant to the Declaratory Judgment Act. A real and justiciable
controversy exists between the parties with respect to whether Professional Home Healthcare is
entitled to defense and indemnity coverage under the Great l\/lidwest policy for the claims and
damages sought in an underlying suit filed in the Second Judicial District Court, County of
Bernalillo, under the style, Barbara Gooa’, as Personal Representatz`ve of the Estate of Carl
Good, Deceased, v. Professz`onal Home Healthcare, Inc., and John Does ]-5, Case No. D-ZOZ-
CV~Z()ll-ll46 (underlying suit). Declaratory relief will effectively adjudicate the rights and

obligations of the parties.

7. Venue is proper in this District pursuant to 28 U.S.C. § l39l (a) because a

substantial portion of the events giving rise to the claim for the declaratory action occurred in

this District.
II. INSURANCE POLICY
8. Professional Home Healthcare sought professional liability insurance from Great
l\/lidwest.

Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 3 of 7

9. On January llth, 201 l, Professional Home Healthcare filled out a supplemental
application for the Philadelphia insurance Company, Great Midwest utilized and relied on this

application when considering the request for coverage by Professional Home Healthcare.

l(). Question No. l6 of the application states, “Is the applicant aware of any
circumstances which may result in any claim or suit made (including requests for medical
records)?” Relevant portions of Application attached hereto as Exhibit A. Professional Home

Healthcare answered, “No.”

ll. At the time, Professional Horne Healthcare answered “No” and represented that it
was not aware of any medical records requests, it had, in fact, received a request for medical
records On August 26, 2010, five months before it filled out its application, Professional Home
Healthcare had received a request on behalf the family of Carl Good, Jr., for his medical records.

Medical Record Request attached hereto as Exhibit B.

lZ. 'I`he request was made by a law firm hired by Mr. Good’s family. Debbie Hogan,
assistant to Charles Bennett, with the Whitener Law Firm in Albuquerque, New Mexico, wrote
Professional Home Healthcare requesting Mr. Good’s medical records relating to an “incident”
which occurred on December 23rd, 2009. The letter states that the information is being requested
to facilitate settlement with the insurance company Exhibit B. An invoice dated September 2,
ZOlO, shows that Professional Home Healthcare provided the Whitener Law Firm with Mr.

Good’s records lnvoice attached hereto as Exhibit C.

l3. ln reliance on the application, including Question No. 16, Great l\/lidwest issued

Professional Liability lnsurance to Professional Home Healthcare.

Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 4 of 7

14. Great Midwest issued Professional Liability Policy No. PP00005433-01GM1C to
Professional Home Healthcare, lnc., on April 12th, 2011. Had Question No. 16 of the application
been answered truthfully, Great l\/lidwest may have refused to issue the policy or issued it with
different provisions including higher premiums, riders or exclusions The failure of Professional
Home Health Care to fully and accurately answer the question in the application and its material

misrepresentation voids coverage for the claims of l\/lr. Good.

15. The Professional Liability Policy issued by Great Midwest to Professional Home
Healthcare, Inc. is a claims made policy. The insuring agreement provides at Section b.(3) that it
applies to an injury only if a “claim” for damages... is first made against any insured, in
accordance with Paragraph C. below, during the policy period. Paragraph C. provides that a
claim shall be considered first made. .. when notice of such “claim” is received by any insured

and reported to us.

16. “Claim” is defined in Section Vl 4 as a “suit or demand made by or for the injured

person for monetary damages because of alleged injury to which this insurance applies.”

17. The August 26th, 2010 letter may constitute a claim which was first made against
Professional Home Healthcare before the policy period. Accordingly, the claim of Carl Good’s

estate falls outside the policy.

18. Under Section 2 h, the policy excludes Known Prior lnjury or Darnage. This
exclusion removes from coverage ‘any “claim” based upon, arising out of, directly or indirectly
resulting from, in consequence of, or in any way involving any fact, circumstance or situation
which has been the subject of any notice of a “claim,” or incident which may result in a “claim”

given under any prior policy.’

Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 5 of 7

19. The August 26“‘, 2010 letter to Professional Home Healthcare gave Professional
Home Healthcare knowledge of an incident which may result in a claim under a prior policy
period. Therefore, coverage for the claim, the underlying suit, is removed from coverage under

the Known Prior lnjury or Damage exclusion
III. UNDERLYING SUIT

20. On November l7th, 2011, the estate of Carl Good filed a Complaint for Wrongful
Death against Professional Home Healthcare in Second Judicial District Court, County of
Bernalillo, under the style, Barbara Good, as Personal Representarive of the Estate of Carl
Good, Deceased, v. Professional Home Healthcare, lnc., and John Does ]-5, Case No. D~202-

CV-2011~1146. Complaint for Wrongful Death (underlying suit) attached hereto as Exhibit D.

21. The underlying suit alleges that as a result of the breach of the standard of care, a
Professional Home Healthcare employee negligently inserted a Foley catheter resulting in sepsis

and Carl Good’s death on January 3'd, 2010.

IV. CLAIMS FOR RELIEF

22. Great Midwest issued the professional liability policy to Professional Home
Healthcare, lnc., in reliance on the accuracy of Professional Horne Healthcare’s answers in its

application

23. Professional Home Healthcare either negligently or intentionally misrepresented
the answer to Question No. 16 when it failed to reveal the request for medical records made by a

lawyer hired by the family of Carl Good. This misrepresentation is material and voids coverage

24. Pursuant to the professional liability policy, Great Midwest coverage applies only

to claims for damages first made against Professional Home Healthcare during the policy period.

Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 6 of 7

lt also excludes from coverage any claim arising out of, directly or indirectly resulting from any
notice of a claim or incident which may result in a claim. Great Midwest Professional Liability

Policy attached hereto as Exhibit E.

25. The August 2661 2010 demand for the medical records of decedent, Carl Good,
and its reference to a settlement, put Professional Home Healthcare on notice of a claim.
Accordingly, the lawsuit brought by the estate of Carl Good (underlying suit) does not fall within

the insuring agreement as stated in Section b (3) of the Great Midwest policy.

26. Professional Home Healthcare had notice of the incident which might result in a
claim prior to its application and prior to the Great l\/lidwest policy being issued. The claims of
l\/lr. Good’s estate are excluded under the Known or Prior lnjury or Damage exclusion of the

policy.

27. Professional Home Healthcare’s knowledge of the potential claim by Mr. Good’s

estate are excluded under the common law doctrine of known loss or loss in progress

28. Great Midwest has agreed to defend Professional Home Healthcare, lnc. in the

underlying suit pursuant to a reservation of rights

29. A controversy has arisen among the parties regarding their respective rights and
obligations under the policy and more particularly whether the Great l\/Iidwest policy provides
defense and indemnity coverage for the damages alleged in the underlying suit against

Professional Home Healthcare and, if so, what the coverage is

30. Great Midwest contends it does not have a duty of defense or indemnity to

Professional Home Healthcare in the underlying suit.

relief:

Case 1:12-cV-OOO47-I\/|V-SI\/|V Document 1 Filed 01/17/12 Page 7 of 7
WHEREFORE, Great Midwest lnsurance Company prays this Court for the following

A. Enter a judgment declaring there is no coverage under the Great Midwest
lnsurance Policy for the underlying suit. The determination of no coverage includes but
is not limited to declaration that Great Midwest owes no defense or indemnity obligation

to Professional Horne Healthcare

B. Enter a judgment declaring the rights and obligations of each of the parties

with respect to the disputes herein.

C. For an award to Great Midwest lnsurance Company and against
Professional Home Healthcare for amounts reimbursing it for all costs incurred and paid

in the defense of the underlying Gooa’ suit.
D. Award of costs and fees in this action.

E. Grant Plaintiff any other and further relief as the Court deems just and

proper.

CIVEROLO, GRALOW, HlLL & CURTIS
A Professional Association

Byf … m/®v \\x/

M. Clea Gutter'son, Esq.
Arlorneysfor l"lczz`l/zrz`jjf

P. O. Drawer 887

Albuquerque, New Mexico 87103

(505) 842-8255

